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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA                        )

 vs.                                             )   CRIMINAL ACTION NO. 09–00240-KD

 JOSE NORIEGA, OMAR HUEZO,                       )
 MADELYN ALOMA, and
 YZUMY RODRIGUEZ,                                )

        Defendants.                              )

                                             ORDER

        This matter is before the Court on defendants’ motions to suppress and the defendants’

 motions to sever filed by defendants Omar Huezo (doc. 131), Jose Noriega (docs. 98, 115),

 Madelyn Aloma (docs. 100, 114), and Yzumy Rodriguez (docs. 97, 99) and the United States’

 responses (docs. 150, 151). A hearing was held on January 15, 2010.

 I. Findings of Fact1

        A few days before October 9, 2009, Corporal Wilbur Williams received a phone call

 from an anonymous tipster. The caller told Williams that there were three residences in Eight

 Mile, Alabama, where Cuban residents were growing marijuana in-house. The caller gave the

 specific addresses of the residences and indicated that the outbuildings were equipped with large

 air conditioners. The caller refused to answer William’s inquiries regarding the source of his

 knowledge. On October 9, 2009, Williams, along with 5-6 other police officers, proceeded to

 the residences to check out the tip. Eventually each of the residences and outbuildings were

 searched, which resulted in the discovery of large in-house marijuana grow productions. The



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         The facts are derived almost exclusively from the testimony of Corporal Wilbur
 Williams. The Court finds Williams’ testimony to be credible.
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 defendants Huezo, Noriega, Aloma and Rodriguez each claim standing to contest the search of

 their respective residence and outbuilding.

        A) Jib Road Residence

         The first residence that Williams visited was 6562 Jib Road, Eight Mile, Alabama.

 Williams approached the residence and followed the driveway which led to the side entrance of

 the house. The front entrance was fenced off, so Williams proceeded to the side door. As he

 approached the side door he “encountered an overwhelming odor of fresh growing marijuana”.

 He discovered that the smell was emanating from a broken window pane and the crack between

 the side double doors. Williams could hear a television and had observed a vehicle in the drive,

 yet no one answered when he knocked on the door. Williams also observed surveillance

 cameras on the exterior of the residence.

        Based on the anonymous tip and the overwhelming odor of marijuana, Williams wrote

 out a search affidavit (Exh.1) and then contacted Judge George Hardesty to obtain a telephonic

 search warrant pursuant to Ala. R. Crim. P. 3.8. Williams chose to request a telephonic warrant,

 instead of appearing in person, because he was approximately twenty miles away from the

 Judge, he believed that someone was in the residence and he believed that any juvenile stage

 plants could easily be destroyed before a traditional warrant could be obtained. Judge Hardesty

 issued the telephonic search warrant and then subsequently memorialized the basis for the

 issuance of the warrant. (Exh. 2)

        The house was searched and 119 growing marijuana plants were seized along with high

 intensity discharge lighting equipment, a photo album, assorted documents which included a

 lease agreement for the residence in Omar Huezo’s name, and a high powered assault rifle with a


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 scope. The rifle was found in the room with surveillance monitoring equipment.

        Based on the discovery in the house, the fact that the anonymous caller had indicated that

 the outbuildings were also used to grow marijuana, and the observation that the outbuilding had

 two five ton air conditioning units hooked to it, Williams called Judge Hardesty to request a

 telephonic search warrant for the outbuilding. (Exh. 1). Again Judge Hardesty granted the

 request. (Exh. 2). Only fragments of marijuana plants were found, however the contents of the

 building appeared to be consistent with a prior marijuana grow facility.

        Defendant Omar Huezo claims standing to suppress the evidence seized at the Jib Road

 residence based on the fact that he was the lessor of the property. Huezo initially contests the

 validity of the oral warrant, arguing that the circumstances did not justify a telephonic warrant.

 Ala. R. Crim. P. 3.8(b)(1) provides that a telephonic warrant is permissible if circumstances

 make it reasonable to dispense with a written affidavit. However, the rule also provides that

 evidence obtained pursuant to a telephonic warrant is not subject to suppression “absent a

 finding of bad faith” on the part of the officer. Ala. R.Crim. P. 3.8(b)(7). The Court finds that

 the officer did not act in bad faith when he requested either telephonic warrant based on the

 possible destruction of evidence.

        Huezo also argues that even assuming the oral warrants were validly obtained, that the

 search warrant for the house failed in the required specificity, i.e., there was no basis for

 searching for anything other than the marijuana plants, thus the documents and photo album

 should be suppressed. The search affidavit requested permission to search for “papers, ledgers,

 video tapes, pictures or paraphernalia relating to the possession, manufacture, use or distribution

 of illegal drugs. Any documents identifying the owner or occupants of residence.” This request


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 was based on probable cause to believe marijuana plants were in the house. The officers

 certainly had cause to also search for evidence related to ownership of the house. Huezo’s

 argument is without merit.2 Accordingly, Huezo’s motion to suppress is DENIED.

        B) Chutney Drive

        Prior to proceeding to Chutney Drive, Williams ran the license plate on the vehicle at Jib

 Road and discovered it was registered to Juan Sabina. Williams, accompanied by several

 officers proceeded to the Chutney Drive location. When Williams arrived at Chutney Drive, he

 encountered three men sitting on the back porch. One of the men identified himself as Juan

 Sabina and said he spoke English. The other men did not speak English but spoke through

 Sabina. Huezo stated that he lived at Jib Road.

        Imbued with the knowledge of the corroborated tip, the discovery of the large marijuana

 grow at Jib Road, the high powered rifle positioned close to surveillance monitor, and now the

 connection of the Chutney Road residence to the Jib Road residence, i.e. Juan Sabina and Huezo,

 Williams felt a heightened sense of danger to the officers. Accordingly, before continuing to

 speak to the three men, Williams conducted a protective sweep of the garage and house. In the

 house he observed high intensity discharge lighting equipment (same type as in Jib Road) but no

 marijuana plants. After exiting the house, Williams walked around the outbuilding where he

 could smell growing marijuana.

        Based on this information and being fearful of the destruction of evidence, Williams

 prepared an affidavit requesting to search the house and outbuilding. (Exhibit 4) A telephonic


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          The Court also finds unpersuasive Huezo’s attempt to apply the limitations of a
 warrantless search based on exigent circumstances to the current situation where a valid warrant
 was obtained.

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 warrant was issued by Judge Hardesty. 245 marijuana plants were seized from the outbuilding.

 The officers also seized from the house the high intensity discharge lighting equipment and a

 rifle that was found next to the kitchen window which overlooked the outbuilding.

        Yzumy Rodriguez denies that she lived at the residence, claims that she left the residence

 in September 2009 with no intention to return, and moved to Miami with her son. In spite of this

 position, Rodriguez claims standing based on a possessory and/or proprietary interest in the

 house. This claim is based on her husband Jose Noriega’s ownership of the house and her

 assertion, without any cited authority, that as a result she has marital rights to the property.

        “The party alleging an unconstitutional search must establish both a subjective and an

 objective expectation of privacy. The subjective component requires that a person exhibit an

 actual expectation of privacy, while the objective component requires that the privacy

 expectation be one that society is prepared to recognize as reasonable.” United States v.

 Segura-Baltazar, 448 F.3d 1281, 1286 (11th Cir. 2006) (quotation marks and citations omitted).

 Rodriguez has failed to establish either a subjective or objective expectation of privacy.

         Clearly, Rodriguez has abandoned any possessory interest in the property by leaving

 with no intent to return; she testified that she had neither a present or future interest in possession

 of the property. Moreover, Rodriguez has failed to show a proprietary interest in the property

 that gives her standing to challenge the search of the property. Presumably, Rodriguez is relying

 on the fact that under Alabama law, a spouse may be awarded a proprietary interest in the marital

 homestead even when she does not hold title to the property. The fallacy of this argument is that

 Rodriguez merely has a potential proprietary interest upon divorce. Bumpers v. Bumpers, 380

 So.2d 918 (Ala. Civ. App.1980) (“The right of either spouse to any marital property is left to the


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 sound discretion of the trial court, based on the unique facts and circumstances of each case.”).

 Moreover, even if Rodriguez had a future ownership interest, it would not support her claim of

 standing. “While property ownership is clearly a factor to be considered in determining whether

 an individual's Fourth Amendment rights have been violated, property rights are neither the

 beginning nor the end of this Court's inquiry.” United States v. Salvucci, 448 U.S. 83, 91, 100

 S.Ct. 2547, 2553 (1980). It is not objectively reasonable to expect privacy in a home which you

 have abandoned and in which you currently hold no ownership interest. Accordingly,

 Rodriguez’ motion is DENIED based on her lack of standing to challenge the search.

        However, even if Rodriguez had standing, her challenge to the search would fail for the

 same reason that her co-defendant Noriega’s challenge cannot succeed. First, the Court finds

 that the request for an oral warrant was not made in bad faith, thus the challenge to the means by

 which the warrant was obtained fails.

        Next, Rodriguez and Noriega3 challenge Williams’ protective sweep whereby he gained

 additional information to support his request for a search warrant. A protective sweep is allowed

 when there are “articulable facts which, taken together with the rational inferences from those

 facts, would warrant a reasonably prudent officer in believing that the area to be swept harbors

 an individual posing a danger to those on the arrest scene.” Maryland v. Buie, 494 U.S. 325, 334,

 110 S.Ct. 1093, 1098 (1990). Although the Supreme Court has not extended the protective

 sweep doctrine to circumstances where there is no arrest, the Eleventh Circuit has. United States

 v. Legette, 260 Fed. Appx. 247, 249-250 (11th Cir. 2008).



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          The Government did not challenge Noriega’s standing, thus the Court presumes he has
 standing to challenge the search based on Noriega’s assertion that this was his residence.

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        In this case Williams had articulable facts which warranted the protective sweep of both

 the house and around the outbuilding. Specifically, Williams felt the need to look in the house

 and to look around the outbuilding to assure himself that there was no person hiding who would

 be a threat to officer safety. This concern was based on evidence connecting the Jib Road and

 Chutney Drive residences, the evidence that a large marijuana grow was occurring at the Jib

 Drive residence, the presence of the resident of Jib Road, and the fact that the high powered rifle

 which had been found at Jib Road appeared to be used in connection with the surveillance

 monitor as a means of protection against uninvited visitors. The Court finds that the

 circumstances articulated by Williams warranted a protective sweep. Accordingly, evidence

 discovered during the protective sweep was legitimately used to obtain the search warrant.

 Rodriguez’ and Noriega’s motions to suppress are DENIED.

        C) Kushla Road

        Williams left officers at Chutney Drive to complete the search and then proceeded to

 Kushla Road. On the way, Williams was informed about the discovery in the Chutney Drive

 residence of the rifle next to the kitchen window. This information further heightened Williams’

 awareness of the potential danger he may encounter at the Kushla Road residence. When

 Williams arrived at the residence he went to the front door and noted that, like the Jib Road

 residence, the residence was equipped with security cameras. Williams was immediately

 informed by other officers that three individuals were in the back yard. The individuals were

 Madelyn Aloma, Juan Aloma and M. Aloma’s teenage daughter. Williams went to the backyard

 and attempted to speak with the occupants. Only the daughter spoke English.

        Williams attempted, through the daughter, to question M. Aloma and request permission


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 to do a protective sweep of the property. Williams felt the need to conduct a protective sweep of

 the house and to look around the outbuildings prior to continuing to interview the residents.

 Again, this was based on the corroborated tip, the large amount of marijuana discovered at the

 prior two residences, and the suspected use of a rifle at the prior two residences as a means of

 protecting the marijuana. Also, M. Aloma, through her daughter, informed the officers that her

 husband was Alcides Sabina, but that he was not at home. This led Williams to believe that the

 husband could be hiding on the premises which could result in danger to the officers or

 destruction of evidence.

        Williams conducted the protective sweep of the house and upon entering encountered a

 “tremendous” smell of marijuana plants. In the bedrooms he discovered a large quantity of

 marijuana plants hanging for drying. As he walked around the outbuilding he observed two five

 ton air conditioners attached to the outbuilding and could smell marijuana plants.

        Based on this information, as well as the prior discoveries at the other two residences,

 Williams telephonically requested a search warrant. (Exhibit 5). Judge Hardesty issued the

 warrant. The Court does not find any bad faith in Williams’ request for a telephonic warrant.

        M. Aloma contests the “knock and talk” on two bases. First she argues that Williams had

 probable cause to get a warrant prior to arriving at the Kushla Road residence, thus he should

 have obtained a search warrant in lieu of conducting a “knock and talk”. This novel argument is

 without merit. An officer is not prohibited from talking to a suspect just because he may already

 have probable cause to arrest him or search his house.

        Next, M. Aloma argues that Williams’ encounter with M. Aloma is not covered by the

 “knock and talk” exception because Williams “left the front door and went through the fence and


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 began interrogating” the defendant. This argument is in reference to Williams going to the

 backyard to talk to the residents. In United States v. Taylor , 458 F. 3d 1201, 1205 (11th Cir.

 2006), the Eleventh Circuit held that the officer’s minor departure from the front door to

 approach the occupant who was coming from behind the house was not outside the permissible

 “knock and talk” limitations. Admittedly, the present case pushes the envelope, in that the

 officer left the front door and went into the backyard to speak to the occupants. However, in

 Taylor, the Circuit Court cited with approval the case of United States v. Hammett, 236 F.3d

 1054, 1060 (9th Cir. 2001); a case in which the officers circled the house in an attempt to locate

 someone with whom they could speak. The present case is indistinguishable. Accordingly, the

 Court finds that Williams’ encounter with M. Aloma was an appropriate exercise of his “knock

 and talk” authority.

        Also, to the extent that M. Aloma challenges the protective sweep, the undersigned finds

 Williams had articulable facts which warranted the protective sweep. Specifically, considering

 that the anonymous tip had been corroborated, the magnitude of the illegal marijuana operation

 that he had previously discovered and the sophistication of the means of protection at the

 previous two locations, any interview conducted without first assuring himself of the safety of

 the situation would have been unwise. Accordingly, M. Aloma’s motion to suppress is

 DENIED.

 II. Motion to Sever

        The defendants have also filed a motion to sever in which they argue that because the

 evidence seized is inadmissible against them, the “spill over” effect of admitting this evidence

 against other defendants will be prejudicial. The argument is based on the success of each


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 defendants’ motion to suppress which has not been realized. Accordingly, the motions to sever

 are DENIED.

        DONE and ORDERED this 20th day of January, 2010.


                                            s/ Kristi K. DuBose
                                            KRISTI K. DuBOSE
                                            UNITED STATES DISTRICT JUDGE




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